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                                   Andrew Godfrey
                                   March 07, 2022

 ·   · · · · · · IN THE UNITED STATES DISTRICT COURT
 ·   · · · · · · · · FOR THE DISTRICT OF COLORADO
 ·
 ·   · ·Civil Action No. 21-cv-01073-CMA-CPG
 ·   · ·______________________________________________________

 · · · · · · VIDEOTAPED REMOTEDEPO™ DEPOSITION OF:
 · · · · · · · · ·ANDREW GODFREY - March 7, 2022
 · · ·______________________________________________________

 ·   · ·THE AARON H. FLECK REVOCABLE TRUST, through its
 ·   · ·Trustees, Aaron H. Fleck and Barbara G. Fleck,
 ·
 ·   · ·THE BARBARA G. FLECK REVOCABLE TRUST, through its
 ·   · ·Trustees, Aaron H. Fleck and Barbara G. Fleck,

 ·   · ·AARON H. FLECK and BARBARA G. FLECK, on behalf of
 ·   · ·themselves and all others similarly situated,
 ·
 ·   · ·Plaintiffs,
 ·
 ·   · ·v.
 ·
 ·   · ·FIRST WESTERN TRUST BANK,
 ·
 ·   · ·CHARLES BANTIS and
 ·
 ·   · ·ANDREW GODFREY,
 ·
 ·   · ·Defendants.
 ·   · ·______________________________________________________

 ·   ·   · · · · · · PURSUANT TO NOTICE, the Videotaped
 ·   ·   ·RemoteDepo™ deposition of ANDREW GODFREY was taken on
 ·   ·   ·behalf of the Plaintiffs by remote means, on March 7,
 ·   ·   ·2022 at 9:31 a.m., before Tracy R. Stonehocker,
 ·   ·   ·Certified Realtime Reporter, Registered Professional
 ·   ·   ·Reporter and Notary Public within Colorado, appearing
 ·   ·   ·remotely from Jefferson County, Colorado.

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